Case 2:03-cv-02707-BBD-dkv Document 82 Filed 08/29/05 Page 1 of 2 Page|D 84

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IN THE UNITED STATES DISTRICT CoUR‘i5 AUG 29 Pn w 23
FoR THE WESTERN DISTRlCT oF TENNESSE

 

WESTERN DIVISION aim US‘ nlng 33
"`1 UL` j t-;§M_
ROY TOWNS,
Plaintiff, Case No.: 03-2707 D V

V.

BAPTIST MEMORIAL HOSPITAL
FOR WOMEN AND BAPTIST
MEMORIAL HEALTH CARE CORPORATION,

Det`endant.

 

ORDER STR[KING PENDING MOTIONS

 

On the calendar are various pending motions, specifically documents numbers 51; 52; 56;
59; 61; 62; and 63.
This matter came on for a trial on the merits on August 22, 2005. All motions were ruled

on and resolved. Accordingly, the motions are stricken as moot.

IT ls so 0RDERED this g day ofLJBL, 2005.

CE BO DONALD
TED STATES DISTRICT IUDGE

  
      
 

 
   
 

Thls document entered on the docket
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STATES Dr RIT COURT - WESTER DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
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Honorable Bernice Donald
US DISTRICT COURT

